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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

UNITED STATES OF AMERICA,                      )
          Petitioner,                          )
                                               )
V.                                             )   CIVIL NO. SA-23-CV-01382
                                               )
BARRETT FIREARMS MFG. CO.                      )
82A1 Rifle, Cal: 50 BMG,                       )
SN: AA015567,                                  )
                                               )
               Respondent.                     )

                            VERIFIED COMPLAINT FOR FORFEITURE

       Comes now Petitioner United States of America, by and through the United States Attorney

for the Western District of Texas and the undersigned Assistant United States Attorney, pursuant

to Rule G, Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions,

Fed. R. Civ. P., and respectfully states as follows:

                                              I.
                                    NATURE OF THIS ACTION

       This action is brought by the United States of America seeking forfeiture to the United

States of the following property:

       •   Barrett Firearms Mfg. Co. 82A1 Rifle, Cal: 50 BMG, Serial Number AA015567,

hereinafter the Respondent Firearm.

                                            II.
                                 JURISDICTION AND VENUE

       Under Title 28 U.S.C. § 1345, this Court has jurisdiction over an action commenced by the

United States, and under Title 28 U.S.C. § 1355(a), jurisdiction over an action for forfeiture. This

Court has in rem jurisdiction over the Respondent Firearm under Title 28 U.S.C. §§ 1355(b) and
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1395. Venue is proper in this district pursuant to Title 28 U.S.C. § 1355(b)(1) because the acts or

omissions giving rise to the forfeiture occurred in this district, and pursuant to Title 28 U.S.C. §§

1355(b)(1)(B) and 1395(b) because the Respondent Firearm is found in this district.

                                         III.
                            STATUTORY BASIS FOR FORFEITURE

        This is a civil forfeiture action in rem brought against the Respondent Firearm for the

violation of Title 18 U.S.C. § 922(a)(6) subject to forfeiture to the United States of America

pursuant to Title 18 U.S.C. § 924(d)(1), which states:

    Title 18 U.S.C. § 924. Penalties
        (d)(1) Any firearm or ammunition involved in or used in any knowing violation of
        subsection . . . (a) . . . of section 922 . . . shall be subject to seizure and forfeiture . . .
        under the provisions of this chapter . . . .

                                           IV.
                             FACTS IN SUPPORT OF VIOLATION

        See Appendix A for facts under seal.

                                                  V.
                                                PRAYER

        WHEREFORE, Petitioner, United States of America, prays that due process issue to

enforce the forfeiture of the Respondent Firearm, that due notice pursuant to Rule G(4) be given

to all interested parties to appear and show cause why forfeiture should not be decreed, 1 and in

accordance with Rule G of the Supplemental Rules for Admiralty or Maritime Claims and Asset

Forfeiture Actions, Fed. R. Civ. P., that the Respondent Firearm be forfeited to the United States

of America, that the Respondent Firearm be disposed of in accordance with the law and for any

such further relief as this Honorable Court deems just and proper.



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Appendix A, which is being filed along with this complaint, will be sent to those known to the
United States to have an interest in the Respondent Firearm.
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                                 Respectfully submitted,


                                 JAIME ESPARZA
                                 United States Attorney

                          By:
                                 MARY NELDA G. VALADEZ
                                 Assistant United States Attorney
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                                 Texas Bar No. 20421844

                                 Attorneys for the United States of America




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                                         VERIFICATION

Special Agent Isaac Hernandez, declares and says that:

       1. I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and Explosives,

assigned to the San Antonio III Field Office, and I am the investigator responsible for the accuracy

of the information provided in this litigation.

       2. I have read the above Verified Complaint for Forfeiture and know the contents thereof;

the information contained in the Verified Complaint for Forfeiture has been furnished by official

government sources; and the allegations contained in the Verified Complaint for Forfeiture are

true based on information and belief.

       Pursuant to Title 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is

true and correct.

       Executed on this the __1st__ day of ____November_____, 2023.



                                        _______________________________
                                        Isaac Hernandez, Special Agent
                                        Bureau of Alcohol, Tobacco, Firearms and Explosives
                                        San Antonio III Field Office




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